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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

SAMANTHA SULLENGER,

               Plaintiff,

v.                                                                          Case No. 1:19-cv-398

CENTRAL NEW MEXICO ELECTRIC
COOPERATIVE, INC.,

               Defendants.

                                   NOTICE OF REMOVAL

       Defendant Central New Mexico Electric Cooperative, Inc. (“Defendant”) hereby removes

this lawsuit to the United States District Court for the District of New Mexico and as grounds

therefore states as follows:

       1. Plaintiff Samantha Sullenger (“Plaintiff”) commenced this action in the Seventh

Judicial District Court, County of Torrance, State of New Mexico, Civil Action No. D-722-CV-

2019-00066, by the filing of Plaintiff’s Complaint for Discrimination, Hostile Work

Environment, Retaliation and Trial De Novo Pursuant to the New Mexico Human Rights act and

the Americans with Disability [sic] Act (“Complaint”) on March 28, 2019. Defendant was

served with a copy of the Complaint on April 1, 2019. Plaintiff’s Complaint states claims of

disability discrimination, harassment, and retaliation under the New Mexico Human Rights Act

(“NMHRA”), the Americans with Disabilities Act (“ADA”), and New Mexico common law.

Copies of all pleadings filed in that action are attached hereto as Exhibit A in accordance with 28

U.S.C. § 1446(a).

       2. Defendants filed this Notice of Removal within 30 days of receiving Plaintiff’s

Complaint. See 28 U.S.C. § 1446(b). The state court in which this action was commenced is
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within this Court’s district. As set forth below, this Court has federal question jurisdiction over

the subject matter of the Complaint, which is therefore properly removed to this Court, pursuant

to 28 U.S.C. §§ 1331, 1441 and 1446.

       3. In Plaintiff’s Complaint, Plaintiff alleges that she was discriminated against, harassed,

and retaliated against because of her disability. (See Compl. at ¶¶ 11-26, Ex. A.)

       4. The Complaint alleges that the conduct described above violates the ADA, in addition

to the NMHRA and New Mexico common law. (Id. at ¶¶ 50-65.)

       5. Accordingly, Plaintiff asserts claims arising under the laws of the United States, over

which this Court has original jurisdiction pursuant to 28 U.S.C. § 1331. This case is therefore

removable under 28 U.S.C. § 1441(b).

       6. Furthermore, because Plaintiff’s federal claims against Defendant are based on the

same facts that underlie Plaintiff’s remaining causes of action, this Court has supplemental

jurisdiction over the remainder of Plaintiff’s Complaint. See 28 U.S.C. § 1367(a).

       7. Pursuant to 28 U.S.C. § 1446(d), promptly upon filing this notice, Defendant will

give written notice of the filing thereof to Plaintiff and will file a copy of the notice with the

Clerk of the Seventh Judicial District in Torrance County, New Mexico, from which this action

was removed.

       WHEREFORE, Defendant respectfully removes this action from state court into this

Court for trial and determination.




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                                     Respectfully submitted,

                                     RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                     By __/s/ Krystle A. Thomas______________________
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                                     Attorneys for Defendant



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2019, I filed the foregoing pleading electronically through
the Court’s CM/ECF system and served all parties or counsel of record by electronic mail as
follows:

       Shane C. Youtz, shane@youtzvaldez.com
       Stephen Curtice, Stephen@youtzvaldez.com
       James A. Montalbano, james@youtzvaldez.com

                                         RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                         By __/s/ Krystle A. Thomas______________________
                                              Krystle A. Thomas




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